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1099 PRO INC                          23901 CALABASAS ROAD            SUITE 2080  CALABASAS             CA   91302-4104
3JTC LLC                              148 RECLUSE ROAD                            GILLETTE              WY   82716
49 RANCH LLC                          PO BOX 327                                  BUFFALO               WY   82834
A LINE SEAMLESS GUTTERS LLC           862 LINCOLN DRIVE               SUITE B     SHERIDAN              WY   82801
A PLUS PLUMBERS &                     333 NORTH MAIN STREET                       SHERIDAN              WY   82801
ACE BUILDERS INC                      PO BOX 6175                                 SHERIDAN              WY   82801
ACZ LABORATORIES INC                  2773 DOWNHILL DR                            STEAMBOAT SPRINGS     CO   80487-5051
ADVANTAGE PAYROLL SERVICES            2706 WEST CUTHBERT AVENUE       SUITE B 100 MIDLAND               TX   79701
AHT LAND LLC                          2141 TIPPERARY ROAD                         CLEARMONT             WY   82835
AIR RESOURCE SPECIALISTS INC          1901 SHARP POINT DR STE F                   FORT COLLINS          CO   80525-4429
AIRGASUSA LLC - CENTRAL DIVISION      PO BOX 676015                               DALLAS                TX   75267-6015
ALEX & NICOLE AUTOMOTIVE              1117 W SPRUCE ST                            RAWLINS               WY   82301-5211
ALEX HEALY MINERAL TRUST              7001 DELAWARE STREET                        CHEVY CHASE           MD   20815
ALLEN & CROUCH PETROLEUM              PO BOX 976                                  CASPER                WY   82602-0976
ALSCO                                 314 S 4TH ST                                LARAMIE               WY   82070-3702
AMANDA R HAYS                         204 WEST JUNIPER LANE                       GILLETTE              WY   82716
AMERICAN COMPRESSOR SOLUTIONS LLC     PO BOX 1567                                 GILLETE               WY   82716-1567
ANADARKO E&P ONSHORE LLC              PO BOX 730002                               DALLAS                TX   75373-0002
ANDRES ARREDONDO                      41 LYONS VALLEY ROAD                        LANDER                WY   82520
ANDREW C EPPERSON                     3200 SANDAGE AVENUE                         FORT WORTH            TX   76109
ANITA REBLE                           1108 NORTH MEADOWBROOK COURT                GILLETTE              WY   82718
ANIXTER INC                           PO BOX 842584                               DALLAS                TX   75284-2584
ANN M GABLER                          7150 MONTAGNE CIRCLE                        ANCHORAGE             AK   99507
ANNA L PAPULAK                        769 EAST SHADY LAKE DRIVE                   SALT LAKE CITY        UT   84106
ANSCHUTZ OIL COMPANY LLC              PO BOX 9012                                 LAWRENCE              KS   66044
APEX COMPANIES LLC                    PO BOX 69142                                BALTIMORE             MD   21264-9142
ARCHROCK SERVICES LP                  PO BOX 201160                               DALLAS                TX   75320-1160
ASPEN OIL AND GAS PARTNERS LLC        1625 LARIMER STREET             UNIT 2403 DENVER                  CO   80202
ASSOCIATED BANK                       200 NORTH ADAMS STREET                      GREEN BAY             WI   54301
AT&T                                  PO BOX 6463                                 CAROL STREAM          IL   60197-6463
AT&T                                  PO BOX 105414                               ATLANTA               GA   30348-5414
ATLAS AUTOMATION INC                  989 E DEER HEIGHTS CT                       DRAPER                UT   84020-1370
AYLOR BRANDS CO                       1415 AINSLEE DRIVE                          MIDLAND               TX   79701
BAGGS TESTING & RENTAL                PO BOX 271                                  BAGGS                 WY   82321-0271
BAKER BOTTS LLP                       PO BOX 301251                               DALLAS                TX   75303-1251
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BAKER HUGHES                          PO BOX 301057                                 DALLAS               TX   75303-1057
BALLARD PETROLEUM HOLDINGS LLC        845 12TH STREET WEST                          BILLINGS             MT   59102
BANK OF AMERICA                       100 NORTH TRYON STREET           SUITE 170    CHARLOTTE            NC   28202
BAR 76 LLC                            PO BOX 968                                    GILLETTE             WY   82717-0968
BARBARA JO RICHARDS                   2611 SOUTH HARRISON COURT                     KENNEWICK            WA   99338-1923
BARBARA OGLE                          100 CHATUGA DRIVE WEST                        LOUDON               TN   37774
BARBARA ZIMMERMAN                     168 SOUTH GARFIELD STREET                     DENVER               CO   80209
BARLOW RANCH LTD PTRSHP               91 BARLOW ROAD                                GILLETTE             WY   82717
BATTALION RESOURCES LLC               PO BOX 4186                                   PARKER               CO   80134
BEARCAT ENERGY LLC                    1225 17th STREET                 SUITE 2650   DENVER               CO   80202
BEATTY & WOZNIAK PC                   216 SIXTEENTH STREET             SUITE 1100   DENVER               CO   80202-5115
BEDLAM SERVICES LLC                   ONE WEST 3RD                     SUITE 1115   TULSA                OK   74103
BELGRAVE RESOURCES LLC                PO BOX 5189                                   BRYAN                TX   77805
BELLE B GREGG                         2702 STATE STREET                             NEW ORLEANS          LA   70118
BENJAMIN D POWELL JR                  22118 PLACERITOS BOULEVARD                    NEWHALL              CA   91321-1120
BERKLEY INSURANCE COMPANY             PO BOX 693831                                 CINCINNATI           OH   45263
BERNICE GROVES                        PO BOX 408                                    WRIGHT               WY   82732-0408
BETTY JO GIBSON                       1119 SOUTH FAIRWAY DRIVE                      FOREST               VA   24551
BETTY LOU PAYNE                       2712 PARKVIEW LANE                            BEDFORD              TX   76002
BIDELL GAS COMPRESSION INC            6900 112TH AVENUE SOUTHEAST                   CALGARY              AB   T2C 4Z1
BIG HORN SCHOOL                       4 CANYON VIEW DRIVE                           SHERIDAN             WY   82801
BIG HORN TECHNOLOGIES LLC             5 VALLEY VIEW DRIVE                           SHERIDAN             WY   82801
BIG O TIRES                           1111 W VICTORY WAY STE 128                    CRAIG                CO   81625-2905
BILL COGGIN                           200 NORTH LORAINE STREET         SUITE 300    MIDLAND              TX   79701
BISCUIT ENERGY LLC                    205 SCOTCH PINE COURT                         GIBSONIA             PA   15044
BJ ROYALTY LLC                        PO BOX 2331                                   CASPER               WY   82602
BLACK DIAMOND ENERGY INC              29 STAGE TRAIL ROAD                           BUFFALO              WY   82834
BLACK HILLS ENERGY                    PO BOX 6001                                   RAPID CITY           SD   57709-6001
BLACK HILLS EXPLORATION &             1515 WYNKOOP STREET              SUITE 500    DENVER               CO   80202
BLACKRIVER HOLDINGS INC               8001 SOUTH INTERPORT BOULEVARD   #26          ENGLEWOOD            CO   80112
BLACKWATER SEPTIC SOLUTIONS           PO BOX 136                                    SINCLAIR             WY   82334-0136
BLAIR CORBETT                         2004 GLADEWOOD DRIVE                          MIDLAND              TX   79707
BLM                                   1425 FORT STREET                              BUFFALO              WY   82834
BLUE BUTTE RANCH LLC                  PO BOX 58                                     BUFFALO              WY   82834
BLUE CROSS BLUE SHIELD                3300 NORTH A STREET                           MIDLAND              TX   79701
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BLUEGRASS SOUTHERN CROSS LLC         PO BOX 269                                  DENVER                CO   80201-0269
BML                                  PO BOX 5061                                 ABILENE               TX   79608
BNSF RAILWAY COMPANY                 4300 AMON CARTER BOULEVARD      SUITE 100   FT WORTH              TX   76155
BOBBY J SPELLMAN                     PO BOX 460                                  BUFFALO               WY   82834
BOBBY JOE SPELLMAN & REBECCA         PO BOX 460                                  BUFFALO               WY   82834
BOELENS' WELL SERVICE LLC            PO BOX 352                                  THERMOPOLIS           WY   82443-0352
BOMGAARS SUPPLY INC                  502 N HIGLEY BLVD                           RAWLINS               WY   82301-5966
BONNIE ECKLES                        300 NORTH LORAINE STREET        SUITE 300   MIDLAND               TX   79701
BONNIE J BROWN                       418 THOROUGHBRED LANE                       CHEYENNE              WY   82009
BOOTJACK LAND CO LLC                 724 ROCK CREEK ROAD                         BUFFALO               WY   82834
BP ENERGY COMPANY                    201 HELIOS WAY                              HOUSTON               TX   77079
BP&H LLC                             PO BOX 1010                                 DAYTON                WY   82836
BPI DIRECT INC                       1601 REED STREET                SUITE 110   LAKEWOOD              CO   80214
BRADEN VINCENT KALT                  2112 BRUNSON                                MIDLAND               TX   79701
BRADLEY CLARIDGE SCOTT &             804 BEAVER STREET                           FLAGSTAFF             AZ   86001
BRADLEY ORIN STEPANEK                1060 ROBBINS ROAD                           BROOKINGS             OR   97415
BRADLEY WYOMING TRUST AGREEMENT      705 51ST AVENUE                             EAST MOLINE           IL   61244
BRANCH INVESTMENTS LLC               9925 HIDDEN HOLLOW LANE                     OKLAHOMA CITY         OK   73151
BRANDON INC                          14735 EAST ABERDEEN AVENUE                  CENTENNIAL            CO   80016
BRENDA ADAMS LANDWOMAN INC           240 JUNIPER STREET                          BUFFALO               WY   82834
BRIAN W BAUSCH                       8975 FERNBROOK DRIVE                        FREDONIA              WI   53021
BUREAU OF LAND MANAGEMENT            DENVER FEDERAL CENTER           BUILDING 50 DENVER                CO   80225
BXP PARTNERS IV LP                   11757 KATY FREEWAY              SUITE 475   HOUSTON               TX   77079
BYERS AUTOMATION LLC                 203 W 28TH CT                               RIFLE                 CO   81650-3154
C & F RANCH LLC                      2600 WEST ECHETA ROAD                       GILLETTE              WY   82716
C S RUBY LLC                         PO BOX 339                                  GILLETTE              WY   82717
C2 SERVICES LLC                      PO BOX 2382                                 GILLETTE              WY   72717
CABALLO LOCO MIDSTREAM               400 EAST LOOP 250 NORTH         SUITE 113   MIDLAND               TX   79705
CAMINO RANCH LLC                     820 NORTH MAIN STREET                       BUFFALO               WY   82834
CAMPBELL COUNTY CLERK &              500 SOUTH GILLETTE AVENUE                   GILLETTE              WY   82716-4239
CAMPBELL COUNTY TREASURER            PO BOX 1027                                 GILLETTE              WY   82717-1027
CANDACE K TENOPIR                    922 GRAND STREET                            SAINT PAUL            NE   68873-1919
CAPITALIZE DATA ANALYTICS LLC        320 DECKER DRIVE                SUITE 100   IRVING                TX   75062
CAPITOL CORPORATE SERVICES INC       PO BOX 1831                                 AUSTIN                TX   78767
CAPSTONE STRATEGIES LLC              1002 WEST WALL STREET                       MIDLAND               TX   79701
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CARBON COUNTY TREASURER                 PO BOX 7                                     RAWLINS               WY   82301-0007
CARBON CREEK ENERGY LLC                 303 WEST WALL STREET            SUITE 2300   MIDLAND               TX   79701
CARBON CREEK ENERGY LLC                 200 N LORAINE STREET            SUITE 300    MIDLAND               TX   79701
CARL KRETSCHMAN                         200 WEST LAKEWAY ROAD                        GILLETTE              WY   82718
CARL R ARNDT REV TRUST                  2939 UPPER POWDER RIVER ROAD                 ARVADA                WY   82831-9714
CARL SCOTT COLLINSWORTH                 PO BOX 3536                                  SHERMAN               TX   75091
CARY BROWN                              200 NORTH LORAINE STREET        SUITE 300    MIDLAND               TX   79701
CASEY FLADELAND                         8031 54TH STREET NW                          STANLEY               ND   58784
CAT CREEK LAND LLC                      565 NORTH CARRINGTON AVENUE                  BUFFALO               WY   82834-1619
CATERPILLAR FINANCIAL SERVICES          2120 WEST END AVENUE                         NASHVILLE             TN   37203
CATHY J DIMMITT                         418 NORTH 19TH STREET                        ORD                   NE   68862
CBM PROPERTIES LLC                      PO BOX 7065                                  SHERIDAN              WY   82801
CELIA ANN BOLINGER                      231 KLONDIKE ROAD                            BUFFALO               WY   82834
CENTENNIAL TOWER                        1031 ANDREWS HIGHWAY            SUITE 100    MIDLAND               TX   79701
CERTICHEX LLC                           9801 UPHAM COURT                             WESTMINSTER           CO   80021
CHAMPIONS CINCO PIPE & SUPPLY LLC       PO BOX 841921                                DALLAS                TX   75284-1921
CHARLES K LAWRENCE                      877 US HIGHWAY 16 EAST                       BUFFALO               WY   82834
CHARLOTTE A BING                        3635 OLD BELLE ROAD                          SPEARFISH             SD   57783
CHARTER RESOURCE GROUP LLC              12 CADILLAC DRIVE               SUITE 280    BRENTWOOD             TN   37027
CHASE BENTLEY                           4121 SWAN LAKE COURT                         MIDLOTHIAN            TX   76065
CHERYL L CASTAGNO                       2233 EAST WALTANN LANE                       PHOENIX               AZ   85022-3468
CHERYL VOGEL                            200 NORTH LORAINE STREET        SUITE 300    MIDLAND               TX   79701
CHRIS GINSBACH                          200 NORTH LORAINE STREET        SUITE 300    MIDLAND               TX   79701
CHRISTIAN FAMILY TRUST                  PO BOX 689                                   DOUGLAS               WY   82633
CHRISTIAN FAMILY TRUST                  PO BOX 689                                   DOUGLAS               WY   82633
CHRISTINE M CAUDILL                     2023 EAST MITCHELL DRIVE                     PHOENIX               AZ   85016
CHRISTOPHER & ANNE HODGES               PO BOX 337                                   SAN LUIS OBISPO       CA   93406
CHRISTOPHER M NARO                      PO BOX 4776                                  PARKER                CO   80134
CIMAREX ENERGY CO                       4023 SOLUTIONS CENTER                        CHICAGO               IL   60677-4000
CINDY ZOMER                             PO BOX 161                                   CORSICA               SD   57328
CITATION 1994 INVESTMENT LP             PO BOX 200206                                DALLAS                TX   75320-0206
CITATION 2002 INVESTMENT LP             14077 CUTTEN ROAD                            HOUSTON               TX   77069
CITATION OIL & GAS CORP                 14077 CUTTEN ROAD                            HOUSTON               TX   77069-2212
CITY OF RAWLINS                         PO BOX 953                                   RAWLINS               WY   82301-0953
CLB AFFIRMED INC                        2606 WEST FRONT STREET          SUITE A      MIDLAND               TX   79701
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CLEAR SUMMIT PRODUCTIONS LLC            6700 W 21ST STREET ROAD                      GREELEY              CO   80634
CLERK SUPREME COURT                     PO BOX 12030                                 AUSTIN               TX   7811-2030
CMS OIL AND GAS COMPANY                 1600 BROADWAY                   SUITE 900    DENVER               CO   80202
CODALE ELECTRIC SUPPLY INC              PO BOX 740525                                LOS ANGELES          CA   90074-0525
COLORADO ESCAPE LLC                     PO BOX 4776                                  PARKER               CO   80134
COMMUNITY NATIONAL BANK                 5329 LOOP 250 NORTH                          MIDLAND              TX   79707
COMPLETE ENERGY SERVICES INC            PO BOX 201653                                DALLAS               TX   75320-1653
CONCORD PRODUCED                        1401 17TH STREET                             DENVER               CO   80202
CONSTANCE S ZORNES                      758 NORTH TREE TOP LANE                      SPRINGFIELD          MO   65802
CONTINENTAL INDUSTRIES FIELD SERV       PO BOX 656                                   CASPER               WY   82602-0656
COTTON BLEDSOE TIGHE & DAWSON           PO BOX 2776                                  MIDLAND              TX   79702-2776
COULTER OIL & GAS LLC                   1662 SOUTH SHERIDAN AVENUE                   SHERIDAN             WY   82801
COUNCIL OF COMMUNITY SERVICES           114 4-J ROAD                                 GILLETTE             WY   82716
COY BALBONI ENVIRONMENTAL INC           1003 CALMAR DR                               JEANNETTE            PA   15644-5000
COYANOSA ROYALTIES LLC                  1801 BROADWAY                   SUITE 1550   DENVER               CO   80202
COZETTE MITCHELL                        1205 LAUREL SPRINGS WAY                      SIGNAL MOUNTAIN      TN   37377
COZETTE MITCHELL                        808 SALEM LANE                               AUSTIN               TX   78753
CRESCENT M CATTLE INC                   91 BOZEMENT AVENUE                           BUFFALO              WY   82834
CRISTIN R GOSSENS                       1423 WEST BEAVER DRIVE                       GILLETTE             WY   82718
CROWLEY FLECK PLLP                      PO BOX 2529                                  BILLINGS             MT   59103-2529
CT CORPORATION                          PO BOX 4349                                  CAROL STREAM         IL   60197-4349
CULLIGAN WATER OF WEST TEXAS            PO BOX 60275                                 MIDLAND              TX   79711-0275
DALE BROWN                              303 WEST WALL                   SUITE 2400   MIDLAND              TX   79701
DALE HOFFMAN                            42612 US HIGHWAY 212                         CLARK                SD   57225
DALLIN MOTORS                           PO BOX 1276                                  RAWLINS              WY   82301-1276
DANIEL CLIFTON PLEMMONS                 703 VALENTINE AVENUE SOUTH                   PACIFIC              WA   98047
DANIEL J GABLER                         9267 NORTH LAKE DRIVE                        BAYSIDE              WI   53217
DANIEL UNGER                            348 COUNTY ROAD 2054                         NACOGDOCHES          TX   75965
DARLEEN E ARNDT                         2939 UPPER POWDER RIVER ROAD                 ARVADA               WY   82831
DARLEEN E ARNDT TRUSTEE                 2939 UPPER POWDER RIVER ROAD                 ARVADA               WY   82831
DAVID A INCHAUSPE                       6727 SOUTH SHELBY RIDGE                      SPOKANE              WA   99224
DAVID GABLER                            230 NORTH HAYDEN BAY DRIVE                   PORTLAND             OR   97271
DAVID K STONE                           420 SANTA RITA AVENUE                        MENLO PARK           CA   94025
DAVID W & DEBRA L LOGAN TTEES           815 A BRAZOS STREET             PMB 330      AUSTIN               TX   78701
DAVIS & CANNON LLP                      PO BOX 728                                   SHERIDAN             WY   82801
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DAVIS CONSTRUCTION                     PO BOX 369                                  BAGGS                 WY   82321-0369
DAVIS GRAHAM & STUBBS LLP              1550 SEVENTEENTH STREET         SUITE 500   DENVER                CO   80202
DAVIS LAND & LIVESTOCK                 919 CLARKELEN ROAD                          GILLETTE              WY   82718
DAVOIL LTD                             PO BOX 122269                               FORT WORTH            TX   76121-2269
DEBRA L KNUTSON &                      5 MIDDLE PRONG ROAD                         GILLETTE              WY   82716
DEEP SWEEP INC                         PO BOX 159                                  SARATOGA              WY   82331-0159
DEER TRACK RANCH LLC                   2690 WEST ECHETA ROAD                       GILLETTE              WY   82716
DELAWARE SECRETARY OF STATE            PO BOX 5509                                 BINGHAMTON            NY   13902-5509
DELEK ROYALTY LLC                      7102 COMMERCE WAY                           BRENTWOOD             TN   37027
DENBURY ONSHORE LLC                    PO BOX 972555                               DALLAS                TX   75397-2555
DENISE FOURNIER                        200 NORTH LORAINE               SUITE 300   MIDLAND               TX   79701
DEPARTMENT OF TREASURY                 INTERNAL REVENUE SERVICE                    CINCINNATI            OH   45999
DETRING & ASSOCIATES LLC               1885 SAINT JAMES PLACE          SUITE 1200 HOUSTON                TX   77056
DEVON ENERGY PRODUCTION CO LP          PO BOX 843559                               DALLAS                TX   75284-3559
DEWITT G HUPP TRUSTEE OF               12831 ALLISON RANCH ROAD                    GRASS VALLEY          CA   95949
DIAMOND N PARTNERSHIP                  PO BOX 125                                  LINCH                 WY   82640-0125
DIAMOND N RANCH LLC                    PO BOX 125                                  LINCH                 WY   82640
DIANE M HARRIS &                       12911 WEST 136TH STREET         APT 108     OVERLAND PARK         KS   66221
DIXIE LEA MAYCOCK REV TRUST            PO BOX 1795                                 GILLETTE              WY   82717-1797
DIXIE LYNNE REECE                      BOX 174                                     LEITER                WY   82837
DKS LAND SERVICES LLC                  2503 BLUFF RIDGE DRIVE                      GILLETTE              WY   82718
DOCVUE LLC                             19181 HIGHWAY 8                             MORRISON              CO   80465-8732
DOI/BLM COMMUNICATIONS SITE            PO BOX 25047 OC371                          DENVER                CO   80225-0047
DONALD CHOFFEL                         325 WEST DICKSON STREET                     FAYETTEVILLE          AR   72701
DONALD E MIDDAUGH                      1016 SOUTH CENTER STREET                    CASPER                WY   82601
DONALD RAY SPELLMAN &                  7239 HIGHWAY 14-16              UNIT C      ARVADA                WY   82831-9603
DONALD RAY SPELLMAN                    7239 HIGHWAY 14-16, UNIT C                  ARVADA                WY   82831
DONALD ROSEBRO                         1051 HOLLY AVENUE                           CARPINTERIA           CA   93013
DONNA H TARVER TRUSTEE                 8185 NORTH HIGHWAY 14-16                    GILLETTE              WY   82717
DONNA K AND DENNIS L BERENS TR         73093 ADOBE SPRINGS DRIVE                   PALM DESERT           CA   92260-1121
DONNA TARVER                           8185 NORTH HIGHWAY 14-16                    GILLETTE              WY   82716
DOROTHY J REHERMAN                     9992 GIVERNY BOULEVARD                      CINCINNATI            OH   45241
DOUBLE D-F ROYALTY FUND II LP          6387 CAMP BOWIE BOULAVARD       SUITE B PMB-312
                                                                                   FORT WORTH            TX   76116
DOUGLAS P & SUZANNE M FULLER &         PO BOX 1791                                 GILLETTE              WY   82717
DRAKE FAMILY REVOCABLE                 2501 EAST TURNEY                            PHOENIX               AZ   85016-5616
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DRAY DYEKMAN REED & HEALEY PC           204 EAST 22ND STREET                        CHEYENNE              WY   82001-3729
DRY FORK LAND & LIVESTOCK LP            PO BOX 228                                  EDGERTON              WY   82635
DUANE STRANAHAN III                     10030 BRIDGER CANYON ROAD                   BOZEMAN               MT   59715
DURHAM RANCHES INC                      7835 HIGHWAY 59                             GILLETTE              WY   82718
DUWAYNE DEKKER                          17227 432ND AVENUE                          CLARK                 SD   57225
DYLAN MAIR                              7221 NORTHWEST 145TH STREET                 OKLAHOMA CITY         OK   73142
E&B NATURAL RESOURCES                   1600 NORRIS ROAD                            BAKERSFIELD           CA   93308
EARTH BOUNTY LP                         6100 WEST STONEHEDGE DRIVE      #226 B      MILWAUKEE             WI   53220
EAST 57TH STREET PARTNERS LLC           6030 EAST MOCKINGBIRD LANE                  DALLAS                TX   75206
EATON BROTHERS INC                      270 EATONS RANCH ROAD                       WOLF                  WY   82844
ED CONNALLY                             5505 SAN SABA COURT                         MIDLAND               TX   79707
ED HAMMER CHEVROLET                     107 E ALGER ST                              SHERIDAN              WY   82801
EDRA JUNE DRAKE AND                     2501 EAST TURNEY                            PHOENIX               AZ   85016-5616
EDWARD B WASSON & COMPANY               440 MONROE STREET                           DENVER                CO   80206
EDWARD J LUKES REV LIV TR               802 LAKE ELBERT COURT                       WINTER HAVEN          FL   33881
EK RANCH LLC                            2879 TIPPERARY ROAD                         ARVADA                WY   82831
ELAND ENERGY INC                        PO BOX 671755                               DALLAS                TX   75267-1755
ELDORA J GROVES                         18360 SOUTH SHADY HOLLOW                    WEST LINN             OR   97068
ELECTRICAL SPECIALIST                   PO BOX 7067                                 GILLETTE              WY   82717
ELEVATED TRAINING SOLUTIONS             PO BOX 248                                  RAWLINS               WY   82301-0248
ELIZABETH ANNE MAZZUCA                  8110 SOUTH MARION COURT                     CENTENNIAL            CO   80122
ELIZABETH G RICE TRUSTEE                30 FAWN DRIVE                               BUFFALO               WY   82834
ELLBOGEN COMPANY II LLC                 PO BOX 1928                                 CASPER                WY   82602
ENCLUSION ENERGY                        4227 MOSS COVE COURT                        SUGAR LAND            TX   77479
ENERGY LABORATORIES, INC                PO BOX 30916                                BILLINGS              MT   59107-0916
ENERGY STRATEGIES                       215 SOUTH STATE STREET          SUITE 200   SALT LAKE CITY        UT   84111
ENERGYLINK HOLDINGS LLC                 PO BOX 675083                               DALLAS                TX   75267-5083
ENRES RESOURCES                         4625 GREENVILLE AVENUE          SUITE 205   DALLAS                TX   75206
EOG RESOURCES INC                       600 17TH STREET                 SUITE 1000N DENVER                CO   80202
EOG Y RESOURCES INC                     PO BOX 840321                               DALLAS                TX   75284
ERLENE M HANSON                         606 SOUTH COMMERCIAL STREET                 CLARK                 SD   57225
ERMA L BETZ                             1145 AVOCA COURT B                          SHERIDAN              WY   82801
ETHERIDGE SEED FARM                     1189 ROAD 20                                POWELL                WY   82435-8827
EXPEDITION WATER SOLUTIONS COLORADO     2015 CLUBHOUSE DR STE 201                   GREELEY               CO   80634-3651
EXTREME PUMP SOLUTIONS LLC              PO BOX 2193                                 GILLETTE              WY   82716
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F & S TRUCKING INC                   PO BOX 875                                    RAWLINS               WY   82301-0875
FADDIS-KENNEDY CATTLE COMPANY        PO BOX 847                                    SHERIDAN              WY   82801
FALCON FOUR UPSTREAM LLC             2602 MCKINNEY AVENUE             SUITE 400    DALLAS                TX   75204
FALXA LAND COMPANY INC               12 CHESLEY AVENUE                             NEWTON                MA   '02460
FASTSIGNS 12801                      4410 NORTH MIDKIFF               SUITE C-9    MIDLAND               TX   79705
FDL OPERATING LLC                    909 LAKE CAROLYN PARKWAY         SUITE 500    IRVING                TX   75039
FEDEX                                PO BOX 660481                                 DALLAS                TX   75266-0481
FINLEY RESOURCES INC                 PO BOX 2200                                   FORT WORTH            TX   76113
FLEX LLC                             PO BOX 238                                    MIDWEST               WY   82643
FLOCCHINI INVESTMENTS                1330 CAPITAL BOULEVARD                        RENO                  NV   89502
FLOYD C RENO AND SONS INC            1200 TURNER CREST ROAD                        GILLETTE              WY   82718
FLOYD LAND & LIVESTOCK INC           2600 WEST ECHETA ROAD                         GILLETTE              WY   82716
FOCUS ENERGY LLC                     730 17TH STREET                  SUITE 500    DENVER                CO   80202
FORT UNION GAS GATHERING LLC         1001 LOUISIANA STREET            SUITE 1000   HOUSTON               TX   77002
FORTC INC                            727 HARBOR TERRACE LANE                       MARINETTE             WI   54143
FORTIFICATION RANCH LLC              PO BOX 391                                    GILLETTE              WY   82717
FORTIN ENTERPRISES INC               PO BOX 3129                                   PALM BEACH            FL   33480
FOSSIL CREEK ENERGY CORP             4216 NORTH PORTLAND AVENUE       SUITE 206    OKLAHOMA              OK   73112
FOUNDATION ENERGY MANAGEMENT         5057 KELLER SPRINGS RD STE 650                ADDISON               TX   75001
FOX FIELD SERVICES LLC               PO BOX 51829                                  CASPER                WY   82605-1829
FP MAILING SOLUTIONS                 PO BOX 157                                    BEDFORD PARK          IL   60499-0157
FRANK & BETTE NEAL TRUST             PO BOX 7                                      SHELL                 WY   82441
FRED A HEPP                          PO BOX 476                                    BUFFALO               WY   82834
FRED ALLEN HEPP REV TRUST            PO BOX 476                                    BUFFALO               WY   82834
FRITZ WELDING AND MACHINE INC        PO BOX 875                                    RAWLINS               WY   82301-0875
FRONTIER STATION INC                 PO BOX 1515                                   CRAIG                 CO   81626-1515
FT RANCH LLC                         PO BOX 136                                    ARVADA                WY   82831
GABRIELLE H MANIGAULT                141 SOUTH CENTER                 SUITE 200    CASPER                WY   82601
GALE DEKKER                          1018 WEST SHRYER                              ROSEVILLE             MN   55113
GARY DEKKER                          5675 COUNTY ROAD 10 EAST                      CHASKA                MN   55318
GARY W PACKARD AND                   2897 TIPPERARY ROAD                           ARVADA                WY   82831
GAYLE ANN HAHN                       PO BOX 324                                    MATAGORDA             TX   77457
GENERAL MONITORS                     PO BOX 734111                                 DALLAS                TX   75373-4111
GEORGE DUNN                          16311 CHIPSTEAD                               SPRING                TX   77379
GEORGIA ANN RADER                    308 NORTHWEST 3RD AVENUE                      ALEDO                 IL   61231
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GILBERTZ ENTERPRISES INC              27 RED FOX DRIVE                             SHERIDAN             WY   82801
GILBERTZ ENTERPRISES INC              27 RED FOX DRIVE                             SHERIDAN             WY   82801
GILBERTZ LLC                          27 RED FOX DRIVE                             SHERIDAN             WY   82801
GILBERTZ MINERAL COMPANY LLC          27 RED FOX DRIVE                             SHERIDAN             WY   82801
GLENN M GROVES REVOCABLE TRUST        1723 HIGHWAY 112                             HULETT               WY   82720-9666
GOOLSBY FINLEY & ASSOCIATES           1551 THREE CROWNS DRIVE         SUITE 300    CASPER               WY   82601
GORDON E TAYLOR                       424 TW ROAD                                  BUFFALO              WY   82834
GP ENERGY MANAGEMENT LLC              PO BOX 419550                                BOSTON               MA   '02241
GREG L MICHELENA                      PO BOX 151                                   CLEARMONT            WY   82835
GRID IRON FENCING INC                 315 KUMOR ROAD                               BUFFALO              WY   82834
GRIZZLY ENERGY LLC                    5847 SAN FELIPE                 SUITE 3000   HOUSTON              TX   77057
GROVES FAMILY LIMITED PART            1723 HIGHWAY 112                             HULETT               WY   82720
GROVES RANCH LLC                      3694 HIGHWAY 50                              GILLETTE             WY   82718
GUADALUPE LAND & MINERALS LLC         17521 ARRATIA                                EL PASO              TX   79938
H B LEE CONSTRUCTION                  PO BOX 6                                     BAGGS                WY   82321-0006
HALCON HOLDING LLC                    1000 LOUISIANA                  SUITE 6700   HOUSTON              TX   77002
HAPE MINERAL TRUST                    1672 WARREN AVENUE                           SHERIDAN             WY   82801
HAROLDS PLACE LLC                     8466 HIGHWAY 14-16                           GILLETTE             WY   82716
HARRIET LAND & LIVESTOCK LLC          PO BOX 471                                   BUFFALO              WY   82834
HATHAWAY & KUNZ PC                    2515 WARREN AVENUE              SUITE 500    CHEYENNE             WY   82003-1208
HAUK ELECTRIC & CONTROLS INC          501 INDUSTRIAL STREET                        BELLE FOURCHE        SD   57717
HAY CANYON LLC                        PO BOX 1020                                  ARTESIA              NM   88211-1020
HELEN MARSHA CHRISTIAN                PO BOX 971                                   BUFFALO              WY   82834
HELM ENERGY LLC                       5251 DTC PARKWAY                SUITE 425    GREENWOOD VILLAGE    CO   80111
HENRY D PAGEL                         28337 Q4 ROAD                                HOLTON               KS   66436
HIGH DESERT SERVICES                  PO BOX 2229                                  ROCK SPRINGS         WY   82902-2229
HILLIARD OFFICE SOLUTIONS LTD         PO BOX 52510                                 MIDLAND              TX   79710-2510
HIP INVESTMENTS LLC                   PO BOX 1037                                  BUFFALO              WY   82834
HODGES FAMILY PARTNERSHIP LP          33 BEACON BAY                                NEWPORT BEACH        CA   92660-7219
HOLLAND AND HART LLP                  PO BOX 17283                                 DENVER               CO   80217-0283
HOMAX OIL SALES INC                   605 S POPLAR ST                              CASPER               WY   82601-2309
HOWARD CHRISTMAN                      19 HIGHLAND DRIVE                            KEARNEY              NE   68845
HUPP FAMILY REV LIVING TRUST          11702 CANDY LANE                             GARDEN GROVE         CA   92840
HUSCH BLACKWELL LLP                   PO BOX 790379                                SAINT LOUIS          MO   63179
IBERLIN FOUR MILE LLC                 565 NORTH CARRINGTON AVENUE                  BUFFALO              WY   82834-1619
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IBERLIN MINERAL PARTNERSHIP             27 HILLTOP DRIVE                            BUFFALO                WY   82834
IBERLIN RANCH LLC                       27 HILLTOP DRIVE                            BUFFALO                WY   82834
IBERLIN RANCH LP                        27 HILLTOP DRIVE                            BUFFALO                WY   82834
ICF                                     PO BOX 775367                               CHICAGO                IL   60677
IFPS CORPORATION                        PO BOX 412086                               KANSAS CITY            MO   64141-2086
INDIAN CREEK LAND COMPANY LLC           PO BOX 715                                  BUFFALO                WY   82834
INNES RANCH LLC                         888 BLACK & YELLOW ROAD                     GILLETTE               WY   82718
INTERSTATE BATTERIES OF NW COLORADO     1705 W VICTORY WY                           CRAIG                  CO   81625-3417
IOBATECH INC                            PO BOX 52387                                MIDLAND                TX   79710
IRON J TOWING INC                       PO BOX 1934                                 RAWLINS                WY   82301-1934
ISLA TIEMPO PROPERTIES INC              6387 CAMP BOWE BLVD SUITE B     PMB-312     FORT WORTH             TX   76116
J BAR CANE ROYALTY LLC                  PO BOX 3660                                 ROSWELL                NM   88202
J DETRICH LAND LLC                      14500 UMPIRE STREET                         BRIGHTON               CO   80603
J PETER CAMINO                          29257 OLD HIGHWAY 87                        BUFFALO                WY   82834
J WALT PATTERSON                        PO BOX 848                                  BUFFALO                WY   82834
J&T ELECTRICAL CONTRACTORS INC          4112 NORTH COUNTY ROAD 1133                 MIDLAND                TX   79705
JACK PLANE RANCH LLC                    PO BOX 971                                  BUFFALO                WY   82834
JACKS AUTO BODY                         45 WEST 9TH STREET                          SHERIDAN               WY   82801
JACKSON ELECTRIC                        1851 NORTH MAIN                             SHERIDAN               WY   82801
JACQUES W SCOTT TRUST                   21121 WEST CREEKSIDE DRIVE                  KILDEER                IL   60047
JAMES & CONNIE JO INCHAUSPE JT          1718 PARK SIDE COURT                        SHERIDAN               WY   82801
JAMES A HALL                            PO BOX 334                                  GILLETTE               WY   82717
JAMES ALBERT WOLFF                      148 RECLUSE ROAD                            GILLETTE               WY   82716
JAMES ALLEN BING                        806 EAST 8TH STREET                         GILLETTE               WY   82716
JAMES E JURACEK                         6298 CHAMBERLYNE DRIVE                      FRISCO                 TX   75034
JAMES E SUCHAN                          3374 GARFIELD AVENUE                        GOWRIE                 IA   50543
JAMES F GREGG                           PO BOX 93                       59 CUSTER ROAD
                                                                                    MELSTONE               MT   59054
JAMES HANSEN                            1911 STADIUM DRIVE                          SHERIDAN               WY   82801
JAMES L ENOCHS                          733 SUMNER STREET                           SHERIDAN               WY   82801-5149
JAMES L UNGER                           10092 HUNT DRIVE                            DAVISON                MI   48423
JAMES SPOMER                            1216 69TH STREET WEST                       BILLINGS               MT   59106
JAMES SPOMER                            1216 69TH STREET WEST                       BILLINGS               MT   59106
JAN M BROCK                             66 EAST DORCHESTER DRIVE                    SALT LAKE CITY         UT   84103
JANE GABLER                             329 WEST KATMAI AVENUE                      SOLDOTNA               AK   99669
JANET R GROTRIAN                        1422 NORTH 16TH STREET                      BEATRICE               NE   68310
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JAY P SUCHAN &                         2306 MARILYN DRIVE                         PAPILLION              NE   68046
JAY SCOTT                              4714 BAKER WOODS LANE                      DECATUR                IL   62521
JEAN E WEIL                            102 SOUTH 85TH STREET                      OMAHA                  NE   60114
JEFF DELAHOYDE                         20100 LOST ARROWHEAD DRIVE                 MONUMENT               CO   80132
JEFF HEIBERG AAPL                      PO BOX 396                                 BUFFALO                WY   82834
JEFF SORENSON                          PO BOX 56                                  ARVADA                 WY   82831
JEFFREY PAUL ANDREINI                  3150 WALDWIC LANE                          OSHKOSH                WI   54904
JENNIFER PHEGLEY                       8706 WEST PRENTICE AVENUE                  LITTLETON              CO   80123
JENNIFER TURNER                        98 FARM VIEW ROAD                          BETHANY                CT   06524-3382
JESSE DALE RUBY                        2901 4-J ROAD                              GILLETTE               WY   82718
JESSELYN MASON                         2795 EAST 123RD STREET                     DENVER                 CO   80241-3406
JJLM LAND LLC                          96162 PINEY ISLAND DRIVE                   FERNANDINA BEACH       FL   32034
JK SPITTLER TRUST                      1106 CROWN ROAD                            NORFOLK                NE   68701-1143
JOAN C KAGAN                           41 WINDRIDGE ROAD                          ESSEX JUNCTION         VT   '05452
JOHN C CHRISTIAN                       PO BOX 971                                 BUFFALO                WY   82834
JOHN JEFFREY GARRETT                   623 VALLEYBROOK DRIVE                      REDDING                CA   96003
JOHN K WILSON                          1100 CONRAD INDUSTRIAL DRIVE               LUDINGTON              MI   49431
JOHN L KRETSCHMAN                      PO BOX 4                                   ARVADA                 WY   82831
JOHN M POLLACK                         1012 ASHLAND AVENUE                        EVANSTON               IL   60202
JOHN O CHRISTENSEN                     932 BLACK AND YELLOW ROAD                  GILLETTE               WY   82718
JOHN POLLACK REV TR UA                 1012 ASHLAND AVENUE                        EVANSTON               IL   60202
JOHN STEIR                             1441 NORTH HEIGHTS AVENUE                  SHERIDAN               WY   82801
JOHN W GROVES                          3694 STATE HWY 50 HCR 82                   GILLETTE               WY   82718
JOHN WILLIAM MANKIN                    1660 HIGHWAY 50                            GILLETTE               WY   82718
JOHN WILLIAM MANKIN IND & TTEE         1660 HIGHWAY 50                            GILLETTE               WY   82718
JOHN WILLIAM WALSH                     330 CAVE LANE                              SAN ANTONIO            TX   78209
JOHNSON COUNTY FAIR BOARD              PO BOX 911                                 BUFFALO                WY   82834
JOHNSON COUNTY WYOMING                 76 NORTH MAIN SREET             ROOM 102   BUFFALO                WY   82834
JOHNSON MILLER & CO CPAS PC            550 WEST TEXAS AVENUE                      MIDLAND                TX   79701
JONATHAN M HAY                         7124 PARKSTONE TERRACE          #201       RACINE                 WI   53406
JORDAN AGRICULTURE LLC                 910 EAST 3RD STREET             SUITE B    GILLETTE               WY   82717
JOSEPH A LAFORTUNE JR 05810            PO BOX 3688                                TULSA                  OK   74101
JOSEPH C MAYCOCK                       PO BOX 311                                 GILLETTE               WY   82717
JOSEPHINE B REINMUND SUPP              499 COUNTRY ROAD 771                       OHIO CITY              CO   81237
JOSH RANDALL                           1405 ASHER STREET                          YUKON                  OK   73099
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JOYCE M BLACK                        PO BOX 137                                 KAYCEE                 WY   82639
JOYCE M INCHAUSPE                    244 NORTH MAIN STREET           APARTMENT ASHERIDAN               WY   82801-3908
JUAQUIN MICHELENA AND                1863 UPPER POWDER RIVER ROAD               ARVADA                 WY   82831
JULIE A ZAMAGNI                      11437 WEST 26TH PLACE                      LAKEWOOD               CO   80215
JUSTIN MAYFIELD                      PO BOX 238                                 MIDWEST                WY   82643
KALI N HEPP                          PO BOX 334                                 GILLETTE               WY   82717
KAREN REED TRUSTEE                   3911 SOUTHERN OAKS DRIVE        UNIT 5     FAYETTEVILLE           NC   28314
KATHERINE J URRUTY TRUST             PO BOX 336                                 BUFFALO                WY   82834
KATHERINE T KELLY                    204 TULLYRIES LANE                         LEWISVILLE             NC   27023
KATIE ROSSMAN                        1302 RANDOLPH                              MIDLAND                TX   79705
KAY RENE STADTFELD                   1740 MARIPOSA LANE                         BILLINGS               MT   59102
KEITH KNAPSTAD                       PO BOX 63                                  STORY                  WY   82842
KENDALL J COX                        PO BOX 70                                  RECLUSE                WY   82725
KERRY D HAYDEN                       PO BOX 8                                   GILLETTE               WY   82717
KERRY D HAYDEN AND STEPHANIE         PO BOX 8                                   GILLETTE               WY   82717
KEVIN PFISTER                        325 NORTH BRADBURY DRIVE                   EDMOND                 OK   73034
KILBURN TIRE CO INC                  116 W CEDAR ST                             RAWLINS                WY   82301-5740
KIMARK SYSTEMS INC                   2105 GREENWOOD DRIVE                       SOUTHLAKE              TX   76092
KIMBERLY REINITZ ESTATE              234 EAST FRONT STREET                      BLOOMINGTON            IL   61702
KLX ENERGY SERVICES LLC              28099 NETWORK PL                           CHICAGO                IL   60673-1280
KOEL L HALL                          PO BOX 334                                 GILLETTE               WY   82717
KOSMA HEATING &                      529 NORTH MAIN STREET                      SHERIDAN               WY   82801
KRIS J LOIA                          2832 LINCOLNSHIRE DRIVE                    RICHARDSON             TX   75082
KRISTOPHER E KELLY                   2921 COUNTRY CLUB DRIVE                    PUEBLO                 CO   81008
KYLE J HALL                          6910 DAREDEVIL AVENUE                      GILLETTE               WY   82718
L KEN JONES                          407 TOPEKA AVENUE                          LUBBOCK                TX   79416
LAMAR TEXAS LIMITED                  PO BOX 96030                               BATON ROUGE            LA   70896
LAROCHE PETROLEUM CONSULTANTS        2435 NORTH CENTRAL EXPRESSWAY   SUITE 1500 RICHARDSON             TX   75080
LARRY BRUBAKER                       2394 IRIGARAY ROAD                         KAYCEE                 WY   82639
LARRY KEITH HARMS                    4424 STONE CREEK CIRCLE                    KERRVILLE              TX   78028
LATHAM & WATKINS LLP                 PO BOX 2130                                CAROL STREAM           IL   60132-2130
LAURA E STEPANEK BUNSEN              846 NORTHWEST RIVERBOW AVENUE              ALBANY                 OR   97321
LAURI BAUSCH CUSICK                  518 SPINDRIFT CIRCLE                       RICHMOND               TX   77469
LAURI KELLER                         200 N LORAINE STREET            SUITE 300  MIDLAND                TX   79701
LAWRENCE E MIDDAUGH AND              1016 SOUTH CENTER STREET                   CASPER                 WY   82601-3734
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LAWRENCE R ZINK                       6427 SINGING CREEK LANE                    SPRING                 TX   77379
LEAH PRIMERA                          3708 HUMBLE AVENUE                         MIDLAND                TX   79707
LEAVITT LAND COMPANY LLC              PO BOX 2680                                CASPER                 WY   82602
LEDOUX FAMILY TRUST                   PO BOX 266                                 KAYCEE                 WY   82639
LEE WILEY MONCRIEF 1988 TR            PO BOX 840738                              DALLAS                 TX   75284-0738
LEEKE CONSULTING LLC                  PO BOX 1107                                BELLAIRE               TX   77402
LEGACY ENERGY CORP                    PO BOX 12289                               DENVER                 CO   80212
LELAND JOE AND KAREN TURNER           605 TURNERCREST ROAD                       GILLETTE               WY   82718
LEONARD AND COMPANY INC               2001 TAROB COURT                           MILPITAS               CA   95035
LEONARD CHOFFEL                       20795 PONY AVENUE                          BEND                   OR   97701
LEROY B RASSBACH REV TR               305 BLACK AND YELLOW ROAD                  GILLETTE               WY   82718
LEROY VAN BUGGENUM                    PO BOX 570                                 STORY                  WY   82842
LITTLE BUFFALO RANCH LLC              2653 CLARKELEN ROAD                        GILLETTE               WY   82718
LITTLE GOOSE LIVING TRUST             5060 GREENFIELD ROAD                       BRIGHTON               MI   48114
LOIS MARLENE NEWTON REV TR            612 WESTSIDE DRIVE                         GILLETTE               WY   82718
LONABAUGH & RIGGS LLP                 PO BOX 5059                                SHERIDAN               WY   82801
LONGBAUGH & RIGGS LLP                 50 E LOUCKS                     SUITE 110  SHERIDAN               WY   82801
LOUISE M LORIMER                      16116 ROUTE 84 NORTH                       EAST MOLINE            IL   61244
LOVE LAND & CATTLE CO                 PO BOX N                                   SHERIDAN               WY   82801
LUSKIN STERN & EISLER LLP             ELEVEN TIMES SQUARE             16TH FLOOR NEW YORK CITY          NY   10036
LYNCH CHAPPELL & ALSUP                300 NORTH MARIENFELD STREET     SUITE 700  MIDLAND                TX   79701
M & S LLC                             4703 SOUTH ELIZABETH COURT                 ENGLEWOOD              CO   80113
MAAR COUNTY LINE LP                   1425 SOUTH MISSION ROAD                    MOUNT PLEASANT         MI   48858
MACK MATHESON &                       13760 NOEL ROAD                 SUITE 1175 DALLAS                 TX   75240
MACQUARIE BANK LIMITED                ROPEMAKER PLACE                 28 ROPEMAKER
                                                                                 LONDON
                                                                                   STREETEC2Y 9HD
MACS MOVING & STORAGE                 219 BROADWAY                               SHERIDAN               WY   82801
MAIR ENERGY LLC                       7221 NORTHWEST 145TH STREET                OKLAHOMA CITY          OK   73142
MANBRO ENERGY CORPORATION             1000 LAKESIDE AVENUE                       CLEVELAND              OH   44114
MANUELLA FAY NICHOLAS                 2905 NORTHWEST 154TH AVENUE                BEAVERTON              OR   97006
MARATHON OIL COMPANY                  PO BOX 732309                              DALLAS                 TX   75373-2309
MARCIA HONZ                           10510 BALROYAL COURT                       FISHERS                IN   46037
MARGARET FOSTER                       525 EAST HAWTHORNE                         MINDEN                 NE   68959
MARGARET J WALTON                     3729 EAST NAMBE COURT                      PHOENIX                AZ   85044
MARGARET R CHOFFEL                    302 WEST PROSPECT STREET                   FAYETTEVILLE           AR   72701
MARILYN A KURTH                       36 ELEANOR LEE LANE EAST                   REHOBOTH BEACH         DE   19971
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MARK AND CHEYENNE LOPEZ                2128 UPPER POWDER RIVER ROAD                ARVADA                WY   82831
MARLENE FARQUHAR                       5205 WEST 34TH STREET                       SIOUX FALLS           SD   57106
MARLIN OIL COMPANY                     1121 SIOUX AVENUE                           GILLETTE              WY   82718
MARTHA JOAN WOLFF LIVING TRUST         148 RECLUSE ROAD HCR 77                     GILLETTE              WY   82716
MARTHA POWELL                          2913 WESTFIELD ROAD                         LOUISVILLE            KY   40220
MARTIN J PLANK ESQUIRE                 3900 E MEXICO AVENUE            SUITE 1300 DENVER                 CO   80210
MARTINDALE CONSULTANTS                 4242 NORTH MERIDIAN AVENUE                  OKLAHOMA CITY         OK   73112
MARY ANN WILCOX 4535A0104              PO BOX 3688                                 TULSA                 OK   74101
MARY C CHRISTMAN                       15525 HOWARD CIRCLE                         OMAHA                 NE   68154-2732
MARY ELLEN JONES REV TRUST             7676 EAST POLO DRIVE            #4          WICHITA               KS   67208
MARY JANE NELSON                       PO BOX 396                                  MILES CITY            MT   59301
MARY KAY SCOTT                         21121 WEST CREEKSIDE DRIVE                  KILDEER               IL   60047
MARY L LEATH                           461 NORTH BURRITT AVENUE                    BUFFALO               WY   82834-1607
MARY M DAILEY                          14284 WEST 88TH DRIVE           UNIT A      ARVADA                CO   80006
MATTHEW HONZ                           2805 NORTH 161ST STREET                     OMAHA                 NE   68116
MATTHEW MARTINEZ                       1700 CESSNA DRIVE                           MIDLAND               TX   79705
MAURICE W BROWN OIL & GAS LLC          516 SOUTH GREELEY HIGHWAY                   CHEYENNE              WY   82007
MAX L RUBY REV TRUST                   PO BOX 2195                                 CODY                  WY   82414
MCGRIFF SEIBELS & WILLIAMS OF          DRAWER 456                      PO BOX 11407BIRMINGHAM            AL   35246-0456
MEADOW CREEK LLC                       PO BOX 338                                  MIDWEST               WY   82643
MEGHAN JOHNSON                         200 NORTH LORAINE STREET        SUITE 300   MIDLAND               TX   79701
MEHL TRUST DATED 08/17/81              19201 SONOMA HIGHWAY 12         #363        SONOMA                CA   95476
MEIKE RANCH INC                        1737 SUSSEX ROAD                            KAYCEE                WY   82639
MERCATOR ENERGY LLC                    26 WEST DRY CREEK CIRCLE        SUITE 410   LITTLETON             CO   80120
MERIDIAN PARTNERS LLC                  1203 SHERIDAN AVENUE                        CODY                  WY   82414
MERIDIAN PARTNERS LLC                  2811 BIG HORN AVENUE                        CODY                  WY   82414
MERIT ADVISORS LLC                     PO BOX 330                                  GAINESVILLE           TX   76241
MERRILL LYNCH COMMODITIES              100 N ORTH TRYON STREET         SUITE 170   CHARLOTTE             NC   28202
MICHAEL J GABLER                       N7949 STATE PARK ROAD                       MENASHA               WI   54952
MICHAEL J LOIA                         PO BOX 85                                   IRON RIVER            MI   49935
MICHAEL M JORDAN AND                   4306 ESSEX COURT                            GILLETTE              WY   82718-4027
MICHAEL PFISTER                        262 BRAESHIRE DRIVE                         BALLWIN               MO   63021
MICHAEL T FOX                          7517 RYAN ROAD                              HARVARD               IL   60033-8408
MICHAEL TURNER                         230 NORTHEAST 5TH STREET                    BEND                  OR   97701
MICHELE AND WILLIAM NEEDENS            209 KLONDIKE ROAD                           BUFFALO               WY   82834
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MICHELLE PANDIT                       4801 ENCINO TERRACE                         ENCINO                CA   91316
MID-CON ENERGY OPERATING llc          2431 E 61ST STREET              SUITE 850   TULSA                 OK   74136
MIDDLE PRONG LAND & LIVESTOCK         PO BOX 62                                   ARVADA                WY   82831
MIDLAND CENTRAL APPRAISAL DIST        PO BOX 908002                               MIDLAND               TX   79708-0002
MIECO INC                             12110 N PECOS STREET            SUITE 220   WESTMINSTER           CO   80234
MIKE CAWLEY                           7744 SOUTH ELK STREET                       AURORA                CO   80016
MIKE COLLINS DBA                      PO BOX 6598                                 SHERIDAN              WY   82801
MIKE J COULTER                        1884 SUMMIT                                 SHERIDAN              WY   82801-5829
MIKE JAEGER                           2614 ARROWHEAD DRIVE                        RAPID CITY            SD   57702
MILDRED E GREGG LAWRENCE              PO BOX 391                                  RIO DELL              CA   95562
MILDRED M HUTCHINSON                  207 PLEASANT STREET                         MARBLEHEAD            MA   '01945
MILLER ENERGY CONSULTING LLC          3648 EAST 49TH STREET                       TULSA                 OK   74135
MITCHEL M AND DIXIE L MAYCOCK         PO BOX 1795                                 GILLETTE              WY   82717-1795
MITCHEL M MAYCOCK REV TRUST           PO BOX 1795                                 GILLETTE              WY   82717
MONA LOU MATHEWSON                    7533 MIDLAND ROAD                           INDEPENDENCE          OH   44131-6509
MONARCH WEST LLC                      5613 DTC PARKWAY                SUITE 310   GREENWOOD VILLAGE     CO   80111
MOORE LAND COMPANY LLC                101 FAIRWAY DRIVE                           DOUGLAS               WY   82633
MOORE LAND COMPANY TRUST              101 FAIRWAY DRIVE                           DOUGLAS               WY   82633
MOORE PIPE WYOMING LLC                1818 NORTH JUSTIN MORGAN ROAD               CASPER                WY   82604
MOOSE CREEK CATERING                  PO BOX 1610                                 PINEDALE              WY   82941
MORGAN RANCH                          952 STATE HWY 50                PO BOX 3211 GILLETTE              WY   82717
MORIAH CBM INVESTMENTS                303 WEST WALL STREET            SUITE 2400 MIDLAND                TX   79701
MORIAH ENERGY INVESTMENTS             303 WEST WALL STREET            SUITE 2400 MIDLAND                TX   79701
MORIAH GROUP                          PO BOX 5562                                 MIDLAND               TX   79704
MORIAH HOLDINGS LLC                   303 WEST WALL STREET            SUITE 2300 MIDLAND                TX   79701
MORIAH INVESTMENT PARTNERS            PO BOX 5562                                 MIDLAND               TX   79701
MORIAH OPERATING LLC                  200 NORTH LORAINE               SUITE 300   MIDLAND               TX   79701
MORIAH POWDER RIVER LLC               200 N LORAINE STREET            SUITE 300   MIDLAND               TX   79701
MORIAH RESOURCES INC                  PO BOX 5562                                 MIDLAND               TX   79704
MORIAH TFS OPERATIONS LLC             303 WEST WALL STREET            SUITE 2400 MIDLAND                TX   79701
MORIAH WYOMING RANCHES                200 NORTH LORAINE STREET        SUITE 300   MIDLAND               TX   79701
MOUNTAIN VIEW CONSULTING INC          PO BOX 615                                  STORY                 WY   82842
MOUNTAIN WEST/WERCS COMM INC          123 W 1ST ST STE C95                        CASPER                WY   82601-2484
MURPHY OIL PRODUCTION LLC             5019 WHEATON PARK DRIVE                     SUGAR LAND            TX   77479-3717
MUSKEGON DEVELOPMENT CO               1425 SOUTH MISSION ROAD                     MOUNT PLEASANT        MI   48858
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MUTUAL OF OMAHA BANK                   520 POST OAK BOULEVARD          SUITE 700    HOUSTON               TX   77027
NANCY A JURACEK                        8170 JULIE MARIE DRIVE                       WEST CHESTER          OH   45069-2417
NANCY PELOSO TRUST                     237 OLD JENNINGS ROAD                        ORANGE PARK           FL   32065
NANCY REINKE                           6 SUNNY HILLS COURT                          BANNER                WY   82832
NANCY S GREEN                          394 NORTH BURRITT AVENUE                     BUFFALO               WY   82834
NATIONAL OILWELL VARCO LP              PO BOX 201177                                DALLAS                TX   75320-1177
NATIONAL OILWELL VARCO LP              PO BOX 205155                                DALLAS                TX   75320
NEAL BYRON SORENSON                    7241 HIGHWAY 14-16                           ARVADA                WY   82831
NEAL PFISTER                           480 SOUTH MARION PARKWAY        #1504-A      DENVER                CO   80209
NEIL HOFFMAN                           40692 MATSON POINT ROAD                      PELICAN RAPIDS        MN   56572
NETHERLAND SEWELL & ASSOC INC          2100 ROSS AVENUE                SUITE 2200   DALLAS                TX   75201
NEWSPAPERS IN EDUCATION                8301 BROADWAY STREET            SUITE 219    SAN ANTONIO           TX   78209-2066
NEWTON FAMILY FARMS LP                 612 WESTSIDE DRIVE                           GILLETTE              WY   82718
NICHOLAS J MAZZUCA                     70 FOREST OAKS DRIVE                         DURHAM                NC   27705
NIKKI KENDRICK                         1048 BIG GOOSE ROAD                          SHERIDAN              WY   82801
NINE MILE LAND COMPANY                 PO BOX 727                                   DOUGLAS               WY   82633
NORCO INC                              PO BOX 15299                                 BOISE                 ID   83715-5299
NORESCO UNITED TECHNOLOGIES            10607 HADDINGTON DRIVE          SUITE 100    HOUSTON               TX   77043
NORTH FINN LLC                         PO BOX 51208                                 CASPER                WY   82605-1208
NORTH STAR CONSULTING INC              1850 GATEWAY BOULEVARD                       CONCORD               CA   84520
NOV PROCESS & FLOW TECHNOLOGIES US     PO BOX 207067                                DALLAS                TX   75320-7068
NRT CONSULTING GROUP LLC               303 WEST WALL STREET            SUITE 2300   MIDLAND               TX   79701
NTS COMMUNICATIONS                     1220 BROADWAY                                LUBBOCK               TX   79401-3201
O&H BRAND DESIGN LLC                   5646 MILTON STREET              SUITE 950    DALLAS                TX   75206
OASIS EMISSION CONSULTANTS INC         2730 COMMERCIAL WAY                          ROCK SPRINGS          WY   82901-4754
OASIS EMISSION CONSULTANTS INC         2730 COMMERCIAL WAY                          ROCK SPRINGS          WY   82901
OEDEKOVEN WALTERS PLACE TRUST          PO BOX 1                                     RECLUSE               WY   82725
OFFICE OF NATURAL RESOURCES            PO BOX 25627                                 DENVER                CO   80225-0627
OFFICE OF STATE LANDS AND              122 W 25 STREET                              CHEYENNE              WY   82002-0600
OHMANS INC                             PO BOX 968                                   GILLETTE              WY   82717-0968
OK CARIOCO LLC                         PO BOX 5562                                  MIDLAND               TX   79704
ONE-CALL OF WYOMING                    1740H DELL RANGE BLVD #511                   CHEYENNE              WY   82009-4946
ONEOK ROCKIES MIDSTREAM LLC            PO BOX 871                                   TULSA                 OK   74102-0871
OPPORTUNE LLP                          711 LOUISIANA STREET            SUITE 3100   HOUSTON               TX   77002
OPPORTUNE LP                           8323 SOUTHWEST FREEWAY          9TH FLOOR    HOUSTON               TX   77074
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OVELLA P BING                          806 EAST 8TH STREET                        GILLETTE               WY   82716
P CROSS BAR RANCH LLC                  8586 NORTH US HIGHWAY 14-16A               GILLETTE               WY   82716
P2ES HOLDINGS LLC 2692                 PO BOX 912692                              DENVER                 CO   80291-2692
PACER ENERGY                           PO BOX 1714                                GILLETTE               WY   82717
PACIFIC POWER                          PO BOX 26000                               PORTLAND               OR   97256-0001
PACKARD LIVESTOCK LLC                  2897 TIPPERARY ROAD                        ARVADA                 WY   82831
PATHFINDER ENERGY INC                  PO BOX 51110                               CASPER                 WY   82605
PATRICIA BASS                          845 UNITED NATIONS PLAZA        APARTMENT 59B
                                                                                  NEW YORK               NY   10017
PATRICIA J MOORE TRUST                 320B MOORE ROAD                            GILLETTE               WY   82718
PATRICIA M BETTINGER                   610 SESAME STREET                          BUFFALO                WY   82834
PATRICIA M BREWER                      1208 SOUTH AVENIDA DEL ORO W               PUEBLO WEST            CO   81007
PATRIOT WELL SOLUTIONS LLC             PO BOX 733846                              DALLAS                 TX   75373-3846
PAULA M PETERSON                       2 MARTENS LANE                             BUFFALO                WY   82834
PEAK CREATIVE MEDIA INC                3330 LARIMER STREET             SUITE 2B   DENVER                 CO   80205
PEGGY J LOPEZ                          3611 WOODHAVE DRIVE                        CHEYENNE               WY   82001
PERCHERON ENERGY LLC                   320 SOUTHVIEW DRIVE             SUITE 400  BRIDGEPORT             WV   26330
PERKINS OIL CO                         PO BOX 1068                                RAWLINS                WY   82301-1068
PERKINS WEST END SINCLAIR '08          PO BOX 546                                 RAWLINS                WY   82301-0546
PERMIAN BASIN ASSOCIATION              PO BOX 80431                               MIDLAND                TX   79708
PERRAULT PROPERTIES INC                94 GRANBURG CIRCLE                         SAN ANTONIO            TX   78218
PETROLEUM STRATEGIES INC               PO BOX 5562                                MIDLAND                TX   79704
PEYTON YATES JR                        PO BOX 1020                                ARTESIA                NM   88211-1020
PHILEN ENTERPRISES INC                 PO BOX 61063                               MIDLAND                TX   79711
PHILIP JORDAN                          PO BOX 608                                 GILLETTE               WY   82717
PINE STREET CAPITAL                    400 PINE STREET                 SUITE 970  ABILENE                TX   79601
PINON MIDLAND PARTNERS LP              303 WEST WALL STREET            SUITE 600  MIDLAND                TX   79701
PINON OPERATING LLC                    303 WEST WALL STREET            SUITE 600  MIDLAND                TX   79701
PLUGGIN ALONG LLC                      PO BOX 2295                                GILLETTE               WY   82717
PLUS ELECTRIC INC                      PO BOX 35                                  BAIROIL                WY   82322-0035
POISON SPIDER OIL COMPANY LLC          475 17TH STREET                 SUITE 900  DENVER                 CO   80202
PORTER HEDGES LLP                      PO BOX 4346                     DEPARTMENTHOUSTON
                                                                                  510                    TX   77210-4346
POWDER RIVER COAL LLC                  701 MARKET STREET               SUITE 700  ST LOUIS               MO   63101
POWDER RIVER ENERGY CORP               PO BOX 930                                 SUNDANCE               WY   82729
POWDER RIVER HEATING AND AIR           PO BOX 245                                 GILLETTE               WY   82717
POWDER RIVER HYDRAULICS LLC            PO BOX 18                                  HARDWOOD               ND   58042
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POWDER RIVER LIVESTOCK COMPANY        1637 UPPER POWDER RIVER ROAD                 ARVADA               WY   82831
POWDER RIVER MIDSTREAM LLC            303 WEST WALL STREET            SUITE 2300   MIDLAND              TX   79701
POWDER RIVER RANCH INC                343 CRAZY WOMAN CANYON ROAD                  BUFFALO              WY   82834
POWER RESOURCES INC                   550 NORTH POPLAR                SUITE 100    CASPER               WY   82601
PROMAAC SYSTEMS INC                   3903 GARMAN ROAD                             GILLETTE             WY   82716
PROSPERITY BANK                       PO BOX 1401                                  LUBBOCK              TX   79408-1401
PROVIDENCE MINERALS LLC               16400 NORTH DALLAS PARKWAY      SUITE 400    DALLAS               TX   75248
PUMPKIN BUTTE RANCH LLC               PO BOX 2222                                  GILLETTE             WY   82717-2222
QUALITY HEDGE AND TREE INC            1705 TAYLOR AVENUE                           SHERIDAN             WY   82801
QUARTER CIRCLE NINE CATTLE INC        91 BOZEMAN                                   BUFFALO              WY   82834
QUORUM BUSINESS SOLUTIONS INC         811 MAIN ST STE 2000                         HOUSTON              TX   77002-6231
RAFTER L RANCH                        1639 MAYOWORTH ROAD                          KAYCEE               WY   82639
RALPH L NELSON                        120 E BLUFF LN                               MILSAP               TX   76066
RAM LLC                               1031 ANDREWS HIGHWAY            SUITE 301    MIDLAND              TX   79701
RANDEE R JESPERSEN                    306 EAST TONK STREET                         GILLETTE             WY   82718
RAWLINS AUTO PARTS                    PO BOX 1148                                  RAWLINS              WY   82301-1148
RAYMON R TURK                         PO BOX 53                                    KAYCEE               WY   82639
RAYMOND C SUCHAN                      1315 BELL STREET                             BEATRICE             NE   68310
RECORD TJ RANCH LP                    3329 HOGAN COURT                             RAPID CITY           SD   57702
RED DOG SYSTEMS INC                   639-5TH AVENUE SOUTHWEST        SUITE 1100   CALGARY              AB   T2P-0M9
REDBUD E&P INC                        8150 NORTH CENTRAL EXPRESSWAY   SUITE 1605   DALLAS               TX   75206
REED AND SOUTH PARK                   1407 EMERSON                                 SHERIDAN             WY   82801
REGUS MANAGEMENT GROUP LLC            PO BOX 842456                                DALLAS               TX   75284
RESOLVE UTILITY                       101 PARK AVENUE                 SUITE 1125   OKLAHOMA CITY        OK   73102
RESOURCE TITLE CONSULTANTS LLC        7300 YELLOWSTONE ROAD           SUITE 8      CHEYENNE             WY   82009-2086
RESTATED DIXIE LYNN REECE TST         PO BOX 2022                                  SHERIDAN             WY   82801
REYNOLDS BROTHERS                     315 NORTH COLORADO                           MIDLAND              TX   79701
RHONDA REINITZ                        405 WEST RANDOLPH STREET                     HEYWORTH             IL   61745
RICHARD E & CARLA J KRETSCHMAN        721 MIDDLE PRONG ROAD                        GILLETTE             WY   82716
RICK G FLOYD                          2482 WEST ECHETA ROAD                        GILLETTE             WY   82716
RIVINGTON FINANCIAL SERVICES          6377 SOUTH REVERE PARKWAY       SUITE 100    CENTENNIAL           CO   80111
RJ MANN & ASSOCIATES INC              860 N 9TH AVE                                BRIGHTON             CO   80603-7717
ROBERT C ARNDT                        2941 UPPER POWDER RIVER ROAD                 ARVADA               WY   82831-9714
ROBERT E BAUMGARTNER                  3548 ROAD 40                                 YODER                WY   82244
ROBERT E L BEEBE                      PO BOX 1281                                  BOULDER              CO   80306
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ROBERT F CHRISTENSEN AND              PO BOX 1269                                 GILLETTE              WY   82716-1269
ROBERT L & NANCY J SORENSON           7241 HIGHWAY 14-16                          ARVADA                WY   82831
ROBERT L SORENSON                     7241 US HIGHWAY 14-16                       ARVADA                WY   82831
ROBERT P & JANET MARY MURRAY          14266 SCOTCHTOWN ROAD                       BEAVERDAM             VA   23015
ROBERT P GEER &                       950 CLARKELEN ROAD                          GILLETTE              WY   82718
ROBERT R GREGG                        PO BOX 111                                  JORDAN                MT   59337
ROBERT R ROUSH                        113 TODD ROAD                               GILLETTE              WY   82718
ROBERT R ROUSH &                      113 TODD ROAD                               GILLETTE              WY   82718
ROBERT T LOIA                         PO BOX 183                                  IRON RIVER            MI   49935
ROCKY MOUNTAIN ENERGY                 2665 AVIATION DRIVE                         SHERIDAN              WY   82801
ROCKY MTN POWER                       PO BOX 26000                                PORTLAND              OR   97256-0001
ROD MINES RECLAMATION INC             PO BOX 238                                  FARSON                WY   82932-0238
RON STANKER                           PO BOX 615                                  STORY                 WY   82842
RPA ADVISORS LLC                      45 EISENHOWER DRIVE             SUITE 560   PARAMUS               NJ   '07652
RULE RANCH                            415 MILLS STREET                            SCOTT                 LA   70583-5234
SAMUEL JAMES PRIMERA                  3708 HUMBLE AVENUE                          MIDLAND               TX   79707
SANTO LEGADO LLLP                     PO BOX 1020                                 ARTESIA               NM   88211-1020
SANTO LEGADO LLLP                     PO BOX 1020                                 ARTESIA               NM   88211-1020
SAUNDERS LAND & LIVESTOCK             PO BOX 847                                  GILLETTE              WY   82717-0847
SCOTT & LINDA COLLINSWORTH            PO BOX 3536                                 SHERMAN               TX   75091
SCULLY FAMILY LIVING TRUST            1658 6TH STREET                             MANHATTAN BEACH       CA   90266
SECOND AMENDED FITZSIMMONS FAM        1614 CEDAR VIEW DRIVE                       CODY                  WY   82414
SECURED DOCUMENT SHREDDING            26 WEST INDUSTRIAL LOOP                     MIDLAND               TX   79701
SEQUENT ENERGY MANAGEMENT             1200 SMITH STREET               SUITE 900   HOUSTON               TX   77002-4374
SEVERSON SUPPLY & RENTAL CO INC       PO BOX 478                                  CRAIG                 CO   81626-0478
SHAE SANDRY                           197 ROAD 20                                 CODY                  WY   82414
SHAWN HIGHT                           PO BOX 326                                  BELLE FOURCHE         SD   57717
SHEEHAN TRUCKING INC                  PO BOX 250                                  BAGGS                 WY   82321-0250
SHERIDAN AMERICAN LEGION              PO BOX 12                                   SHERIDAN              WY   82801
SHERIDAN COUNTY 4H & FFA              224 SOUTH MAIN STREET                       SHERIDAN              WY   82801
SHERIDAN COUNTY CLERK                 224 SOUTH MAIN STREET           SUITE B-2   SHERIDAN              WY   82801
SHERIDAN COUNTY TREASURER             224 SOUTH MAIN STREET           SUITE B-3   SHERIDAN              WY   82801
SHERIDAN JOHNSON                      125 WEST BRUNDAGE STREET                    SHERIDAN              WY   82801
SHERIDAN MOTOR INC                    1858 COFFEEN AVENUE                         SHERIDAN              WY   82801
SHRINERS HOSPITALS FOR                2900 ROCKY POINT DRIVE                      TAMPA                 FL   33607
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SHRINERS HOSPITALS FOR                PO BOX 226270                                DALLAS                 TX   75222-6270
SILVER BULLETT WELDING                611 SOUTH KENDRICK AVENUE                    GILLETTE               WY
SILVER TIP RANCH                      3896 YELLOWSTONE TRAIL NORTH                 LIVINGSTON             MT   59047
SIMON & BETTY IBERLIN REV TRST        565 NORTH CARRINGTON AVENUE                  BUFFALO                WY   82834
SIMON J IBERLIN REV TRUST             565 NORTH CARRINGTON AVENUE                  BUFFALO                WY   82834-1619
SKYLINE MOTORS INC                    PO BOX 730                                   RAWLINS                WY   82301-0730
SLIPHER                               4037 HERSCHEL AVENUE                         DALLAS                 TX   75219
SMITH FAM INVESTMENTS A               8712 WEST DODGE ROAD             SUITE 400   OMAHA                  NE   68114
SMITH FAMILY ENTERPRISES              6222 SADDLETREE LANE                         YORBA LINDA            CA   92886
SOCIETE GENERALE                      480 WASHINGTON BOULEVARD                     JERSEY CITY            NJ   '07310
SOCIETY OF PETROLEUM ENGINEERS        1400 EAST LINCOLN STREET                     GILLETTE               WY   82716
SORENSON RANCH INC                    PO BOX 2590                                  MILLS                  WY   82644
SOUTH PARK MOTOR LINES INC            9850 HAVANA STREET                           HENDERSON              CO   80640-8443
SPEAR LAZY S LAND CO                  PO BOX 2306                                  GILLETTE               WY   82717
SPINNAKER INVESTMENTS LP              PO BOX 3488                                  MIDLAND                TX   79702
SPIRO ENERGY SOLUTIONS LLC            1400 BROADFIELD                  SUITE 200   HOUSTON                TX   77084
STARK & ASSOCIATES INC                11101 SOUTH HARVARD AVENUE                   TULSA                  OK   74137
STATE BAR OF TEXAS                    PO BOX 13007                                 AUSTIN                 TX   78711-3007
STATE LANDS & INVESTMENTS             HERSCHLER BUILDING               122 W 25TH STREET
                                                                                   CHEYENNE               WY   82002-0600
STATE OF WYOMING OFFICE OF            HERSCHLER BUILDING               122 W 25TH ST,
                                                                                   CHEYENNE
                                                                                      #3W                 WY   82002-0600
STATE OF WYOMING                      122 WEST 25TH STREET             3RD FLOOR WEST
                                                                                   CHEYENNE
                                                                                        HERSCHLER BLDG    WY   82002
STATE OF WYOMING                      HERSCHLER BUILDING 4-E                       CHEYENNE               WY   82002
STATE OF WYOMING                      200 WEST 17TH STREET                         CHEYENNE               WY   82002
STEEL SERVICE OILFIELD                DEPARTMENT 1020                              TULSA                  OK   74182
STERLING RESEARCH INC                 14303 RICHARD WALKER BOULEVARD               AUSTIN                 TX   78728
STOMS LLC                             4074 WATERCOURSE DR                          MEDINA                 OH   44256-7897
STONE GATE ESTATES IMPROVEMENT        PO BOX 992                                   GILLETTE               WY   82717-0992
STREETER RANCHES                      PO BOX 311                                   KAYCEE                 WY   82639
STRICKLER COUNTY LINE LP              1425 SOUTH MISSION ROAD                      MT PLEASANT            MI   48858
SUCHAN REAL ESTATE TRUST              5925 SOUTH 175TH AVENUE CIRCLE               OMAHA                  NE   68135
SUDDENLINK                            PO BOX 742535                                CINCINNATI             OH   45274-2535
SUPPORT.COM                           DEPT CH 10967                                PALATINE               IL   60055-0967
SUSAN P CRILLEY                       12800 WEST 117 STREET                        OVERLAND PARK          KS   66210
SUSAN PATREE ANDREWS                  1203 STETSON DRIVE                           GILLETTE               WY   82716
SUSAN R ZIMMERMAN                     3820 DEER CROSSING                           STILLWATER             OK   74074
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T D STRANGER LLC                        2400 BELLECHASE COURT                        MIDLAND              TX   79705
T-CHAIR LAND COMPANY                    1024 BROWN ROAD                              GILLETTE             WY   82718
T-CHAIR LIVESTOCK COMPANY               1024 BROWN ROAD                              GILLETTE             WY   82718
TEAR DROP CATTLE CO LLC                 10030 BRIDGER CANYON ROAD                    BOZEMAN              MT   59715
TELECOM UNLIMITED                       PO BOX 7078                                  ABILENE              TX   79605
TERCERO MINERALS LLC                    PO BOX 51108                                 MIDLAND              TX   79710
TEXAS REFRESHMENTS                      PO BOX 50128                                 MIDLAND              TX   79710-0128
THE BUSINESS CENTER                     619 BROADWAY                                 SHERIDAN             WY   82801
THE CERTEX COMPANY INC                  7086 SOUTH REVERE PARKWAY                    CENTENNIAL           CO   80112
THE SUBSURFACE LIBRARY LTD              PO BOX 2538                                  MIDLAND              TX   79702
THE TROPHY CASE                         219 NORTH MAIN STREET                        SHERIDAN             WY   82801
THE WRANGLER HORSE AND                  PO BOX 6070                                  RIVERTON             WY   82501
THOMAS E SCHUTTE                        PO BOX 374                                   MIDWEST              WY   82643
THORSAND INC DBA SYSTECH                PO BOX 12596                                 ODESSA               TX   79768
THRONE LAW OFFICE PC                    PO BOX 6590                                  SHERIDAN             WY   82801
THRONE RANCH COMPANY                    PO BOX 1056                                  SHERIDAN             WY   82801
THUNDER CREEK GAS SERVICES              1331 17TH STREET                SUITE 1100   DENVER               CO   80202
TIM J MARTON                            221 ROCK CREEK ROAD                          BUFFALO              WY   82834-9332
TIMOTHY M MOORE &                       320A MOORE ROAD HCR 82                       GILLETTE             WY   82718
TODD ADAMS ENVIRONMENTAL FIELD TECH     PO BOX 1619                                  RAWLINS              WY   82301-1619
TODD JAMES ANDRIENI                     1110 WALCOTT WAY                             CARY                 NC   27519
TOMMY VINEYARD                          8602 STOWE CREEK LAND                        MISSOURI CITY        TX   77459
TOTAL COMFORT HEATING &                 PO BOX 232                                   SHERIDAN             WY   82801
TRC CONSTRUCTION INC                    PO BOX 430                                   FLORA VISTA          NM   87415-0430
TRC CONSULTANTS LC                      120 DIETERT AVENUE              SUITE 100    BOERNE               TX   78006
TRINITY MANAGEMENT                      1670 BROADWAY                   SUITE 2200   DENVER               CO   80264-2101
TROY DOYLE HAYDEN                       PO BOX 391                                   GILLETTE             WY   82718
TROY GROUP, INC                         3 BRYAN DRIVE                                WHEELING             WV   26003
TRUE OIL LLC                            PO DRAWER 2360                               CASPER               WY   82602
TRUE VALUE OF RAWLINS                   600 W MAPLE ST                               RAWLINS              WY   82301-5449
TS HARRIS PARTNERS LLC                  200 NORTH LORAINE STREET        SUITE 300    MIDLAND              TX   79701
TWO FLY FOUNDATION INC                  2231 MIRACLE DRIVE                           CASPER               WY   82609
TYLER HARRIS                            200 NORTH LORAINE STREET        SUITE 300    MIDLAND              TX   79701
U S DEPT OF INTERIOR                    2987 PROSPECTOR DRIVE                        CASPER               WY   82604
UNION TELEPHONE COMPANY INC             PO BOX 160                                   MOUNTAIN VIEW        WY   82939-0160
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UNITED SUPPLY OF THE ROCKIES          301 RANNEY ST                                CRAIG                 CO   81625-2722
US REALM VENTURES LLC                 7900 E UNION AVE, STE 1100                   DENVER                CO   80237
US REALM VENTURES LLC                 1412 MAIN STREET                SUITE 415    DALLAS                TX   75238
US REALM VENTURES MIDSTREAM           7900 E UNION AVE, STE 1100                   DENVER                CO   80237
V BAR F CATTLE CO INC                 91 BOZEMAN                                   BUFFALO               WY   82834
VALLEY BACKHOE & CONSTRUCTION INC     PO BOX 128                                   BAGGS                 WY   82321-0128
VALSERVE LLC                          10 JAMISON DR                                EVANSTON              WY   82930-9723
VALVESYSTEMS INC                      1337 34TH ST                                 DENVER                CO   80205-2402
VAN BUGGENUM LIMITED PTRSHP           PO BOX 44                                    SHERIDAN              WY   82801
VERIZON                               PO BOX 660108                                DALLAS                TX   75266-0108
VICTOR WARREN HUPP                    39120 CALLE CONTENTO                         TEMECULA              CA   92591-5036
VICTORY MOTORS OF CRAIG INC           PO BOX 1348                                  CRAIG                 CO   81625-1348
VIRGINIA GEER                         1027 CLARKELEN ROAD                          GILLETTE              WY   82718
VONAGE BUSINESS                       PO BOX 392415                                PITTSBURGH            PA   15251-9415
WALKER CREEK LIVESTOCK CO             PO BOX 12                                    DOUGLAS               WY   82633
WALTER WOOD                           123 EAST BROADWAY                            MT PLEASANT           MI   48858
WANDA LEE GROVES REV TR               3694 HIGHWAY 50                              GILLETTE              WY   82718
WARDNER RANCH INC                     PO BOX 730602                                DALLAS                TX   75375-0602
WARNER SERVICES LLC                   PO BOX 6625                                  SHERIDAN              WY   82801
WARRIOR WELDING & BACKHOE SERVICE     4831 COUNTRY ROAD 4                          CRAIG                 CO   81625-9007
WATERFIELD ENERGY                     ONE WEST 3RD                    SUITE 1115   TULSA                 OK   74103
WATSABAUGH LAND &LIVESTOCK LLC        787 MONTGOMERY ROAD                          GILLETTE              WY   82716
WATSON STREET LP                      1425 SOUTH MISSION ROAD                      MT PLEASANT           MI   48858
WAYNE R ANDERSON                      120 IDLEWOOD DRIVE                           ASHEVILLE             NC   28806-9514
WEATHERFORD ARTIFICIAL                PO BOX 301003                                DALLAS                TX   75303-1003
WEATHERFORD US LP                     PO BOX 301003                                DALLAS                TX   75303-1003
WELLAND COMPANY INC                   PO BOX 1486                                  COUPEVILLE            WA   98239-1486
WENDY A MANRY                         29084 MEANDERING CIRCLE                      MENIFEE               CA   92584
WENDY TURNER                          310 NEW ROAD                                 NASSAU                NY   12123
WEST TEXAS NATIONAL BANK              6 DESTA DRIVE                   SUITE 2400   MIDLAND               TX   79701
WEST TEXAS OFFICE EQUIPMENT           1403 NORTH BIG SPRING STREET                 MIDLAND               TX   79701
WESTERN STAR COMMUNICATIONS           PO BOX 418                                   SANDY                 OR   97055-0418
WESTIN MECHANICAL LLC                 PO BOX 82                                    SHERIDAN              WY   82801
WGR ASSET HOLDING COMPANY LLC         PO BOX 730467                                DALLAS                TX   75373-0467
WGR OPERATING LP                      PO BOX 730951                                DALLAS                TX   75373-0951
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WHITE STAR ENERGY INC                 PO BOX 51108                                 MIDLAND              TX   79710
WHITING OIL & GAS CORP                1700 BROADWAY                   SUITE 2300 DENVER                 CO   80290-2300
WHITING PETROLEUM CORPORATION         1700 BROADWAY                   SUITE 2300 DENVER                 CO   80290
WILCOX NATURAL FUELS LLC              173 NORTHEAST BRIDGETON ROAD    SLIP 5       PORTLAND             OR   97211-1074
WILKINSON BARKER KNAUER LLP           1800 M STREET NORTHWEST         SUITE 800N WASHINGTON             DC   20036
WILLIAM L BUTCHER                     25056 BUCKHORN MOUNTAIN         ESTATES DRIVECUSTER               SD   57730
WILLIAM LONG                          211 KUMOR ROAD                               BUFFALO              WY   82834
WILLIAM M GABLER                      131 CANTERBURY ROAD                          EAU CLAIRE           WI   54701-7105
WILLIAM M MORRIS                      504 WINGED FOOT LANE                         KERRVILLE            TX   78028-6508
WILLIAM P MAYCOCK TRUST               358 MAYCOCK ROAD                             GILLETTE             WY   82716
WILLIAM RUSSELL JOHNSON               1108 14TH STREET                SUITE 135    CODY                 WY   82414
WILLKIE FARR & GALLAGHER LLP          787 SEVENTH AVENUE                           NEW YORK             NY   10019-6099
WINSTEAD PC                           27285 NORTH HARWOOD STREET                   DALLAS               TX   75201
WJ STRICKLER LP                       1425 SOUTH MISSION ROAD                      MOUNT PLEASANT       MI   48858
WM JAMES AND CHERYL A PFISTER         26 HARLEQUIN DRIVE                           SHERIDAN             WY   82801
WOLCOTT LLC                           729 BOOKCLIFF AVENUE                         GRAND JUNCTION       CO   81501
WOLD OIL PROPERTIES                   MINERAL RESOURCE CENTER         139 WEST 2NDCASPER
                                                                                    STREET              WY   82601
WOOD GROUP USA INC                    PO BOX 733325                                DALLAS               TX   75373-3325
WPX ENERGY RM LLC                     21237 NETWORK PLACE                          CHICAGO              IL   60673-1212
WRIGHT RANCH AND RESOURCES LLC        PO BOX 389                                   WRIGHT               WY   82732
WYOMING ASSOCIATION OF                PO BOX 1012                                  CASPER               WY   82602
WYOMING BUREAU OF LAND                5353 YELLOWSTONE ROAD                        CHEYENNE             WY   82003
WYOMING DEPARTMENT OF REVENUE         122 WEST 25TH STREET                         CHEYENNE             WY   82002-0110
WYOMING INTERSTATE COMPANY LLC        PO BOX 734018                                DALLAS               TX   75373-4018
WYOMING MACHINERY COMPANY             PO BOX 2335                                  CASPER               WY   82602-2335
WYOMING OIL & GAS COMMISSION          2211 KING BOULEVARD                          CASPER               WY   82602
WYOMING SECRETARY OF STATE            2020 CAREY AVENUE                            CHEYENNE             WY   82002-0020
WYOMING SERVICE & SUPPLY INC          PO BOX 2508                                  ROCKSPRINGS          WY   82902-2508
WYOMING TAXPAYERS ASSOCIATION         200 EAST 8TH AVENUE             SUITE 203    CHEYENNE             WY   82001
WYOMING WASTE SERVICES - RAWLI        PO BOX 51006                                 LOS ANGELES          CA   90051-5306
WYSOC INVESTMENTS, LLC                303 WEST WALL STREET            SUITE 2300 MIDLAND                TX   79701
XPANSIV DATA SYSTEMS INC              2 BRYANT STREET                 SUITE 220    SAN FRANCISO         CA   94105
XTO ENERGY INC                        PO BOX 840780                                DALLAS               TX   75284
YELLOWSTONE QUAKE INC                 PO BOX 3191                                  CODY                 WY   82414
YOUTH LIVESTOCK SALE                  BOX 65                                       GILLETTE             WY   82717
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ZEDI US INC                               PO BOX 51475                               LAFAYETTE              LA   70505-1475
ZENO OFFICE SOLUTIONS                     5301 WEST LOOP 250 NORTH                   MIDLAND                TX   79707
ZOCO UNLIMITED INC                        PO BOX 305                                 BAGGS                  WY   82321-0305
